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                              DEPARTMENT OF THE AIR FORCE
                                  AIR FORCE RESERVE COMMAND




                                                                                          26 October 2021

MEMORANDUM FOR

FROM: HQ
      555 Robins Parkway, Suite 250
      Robins AFB GA 31098-2005

SUBJECT: Request for Immunization Exemption-                               , HQ

1. I have reviewed your request for religious exemption the recently approved COMIRNATY®/ Pfizer-
BioNTech COVID-19 vaccine, the EUA COVID-19 vaccines that include Johnson’s Janssen and the
Moderna COVID-19 vaccines. I understand your concerns, which are based on your sincerely held
beliefs. After carefully considering the specific facts and circumstances of your request, the
recommendation of your director and the MAJCOM Religious Resolution Team, I disapprove your
request for religious exemption from required immunizations, including the COVID-19 vaccine.

2. I do not doubt the sincerity of your beliefs. However, when evaluating your request for religious
exemption, I also had to consider the risk to our mission. All immunizations, including those listed
above, are an important element of mission accomplishment, as they contribute to the health, safety, and
readiness of the force. Given the importance of our mission, the Department of Defense and the
Department of the Air Force have a compelling government interest in maintaining a healthy and ready
military force through vaccination. Specifically regarding the COVID-19 vaccination, since less
restrictive means of protecting our force from COVID-19 are unavailable, all uniformed Airmen must be
fully vaccinated against COVID-19 and other infectious diseases. Individual medical readiness is a
critical requirement for maintaining a healthy and ready force.

3. If you choose to appeal this decision, please submit your written request to your director within 72
hours of receiving notice of my decision.

4. A copy of this decision memorandum will be placed in your online personnel records. My point of
contact is                        ,              @us.af.mil,               .




cc:
HQ
